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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

 MARTA REYES; LAWRENCE WOOD; et al.,
 on behalf of themselves                                CASE NO. 1:20-cv-21108-UU
 and all those similarly situated,                      HON. URSULA UNGARO

               Plaintiffs,                              CLASS ACTION

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 COMMUNIST PARTY OF CHINA; et al.,

 Defendants.
 _____________________________________/

         STATUS REPORT PURSUANT TO COURT’S APRIL 23, 2020 ORDER

        Plaintiffs, by and through undersigned counsel, hereby provide the Court with a

 Status Report pursuant to the Court’s April 23, 2020 Order, which requires Plaintiffs to

 file a status report every fifteen days. [DE 10].

        Since the last status report of July 10, 2020, the service of process package has

 been confirmed as received at the Beijing Hague Convention compliance office on July

 14th. As stated in the prior status report, our service vendor had to monitor the Beijing

 office’s uneven opening hours to ensure the package would be received, as it could

 have been lost or destroyed if delivery were not precise. Our service vendor, who has

 been working with the Beijing office since the early aughts, also informed us that the

 compliance office was closed for much of the pandemic, and has a backlog of service

 requests and there is only one person who works in the office. Our package will be

 logged in the office and then we will be able to monitor its compliance progress. We

 anticipate that Plaintiffs will need to make a motion to the Court with affidavits from our
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 service vendor, to address the coming deadlines extended by the Court in April, and

 that such motion will be filed before our next status report is due on August 11, 2020.

        Respectfully submitted this 26th day of July, 2020.

                                      By: /s Matthew T. Moore
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been filed this

 July 26, 2020, with the Court’s CM/ECF filing system, which shall cause an email notice

 to be sent to all parties of record in this matter.



                                      By: /s Matthew T. Moore
                                      Matthew T. Moore, Esq.
                                      Fla. Bar No. 70034
